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 6                          IN THE UNITED STATES DISTRICT COURT
 7                                   FOR THE DISTRICT OF ARIZONA
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 9       Unknown Parties, et al.,                        No. CV-15-00250-TUC-DCB
10                     Plaintiffs,                       ORDER
11       v.
12       Kirstjen M Nielsen, et al.,
13                     Defendants.
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16             A Pretrial Conference was held by this Court on Monday, September 16, 2019.

17   The Court ordered the following:
18          1.    This matter is set for a bench trial on Monday, January 13, 2020
     at 9:30 a.m for a 13 day trial. Document and trial witness disclosures shall be completed
19   by September 30, 2019.
20          2.     All stipulations between the parties for purposes of trial shall be set forth in
     writing.
21
            3. Motions in Limine:1 Any motions in limine shall be filed thirty days before
22   trial. Any Response shall be filed five days after the filing date of any motion in limine.
     No Reply shall be filed. Motions in limine and responses are limited to 5 pages.
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            4. Seven days before trial, the parties shall each file “proposed” Findings of Fact
24   and Conclusions of Law; subsequent to trial, the prevailing party shall draft the findings
     and conclusions of law, pursuant to LRCiv. 52.1. Trial briefs are optional. Any trial briefs
25   shall be filed seven days before trial and be limited to 17 pages.
26         5. Exhibits: The parties shall confer and attempt to reach agreement regarding
     the admissibility of exhibits. A list of the exhibits to be offered at trial shall be jointly
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     1
      Motions should be aimed at: 1) resolving evidentiary issues which might result in a
28   mistrial; 2) saving time at trial, or 3) unnecessary costs due to travel by a challenged
     witness.
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 1   submitted to the Court thirty days before trial as follows: a) The parties shall list the
     exhibits that they agree may be admitted at trial. b) As to contested exhibits, Plaintiff shall
 2   list additional exhibits, and Defendant shall make a brief statement of the objection.
     Defendant shall list additional exhibits, and Plaintiff shall make a brief statement of the
 3   objection.
 4           6. The parties shall contact the Courtroom Deputy, Martha Hernandez at (520)
     205-4221, regarding the Court's requirements for preparation and presentation of exhibits,
 5   exhibit lists and witness lists. The Court requests that counsel utilize the courtroom
     equipment for presentation of evidence. Additionally, the parties shall notify the
 6   Courtroom Deputy, if they intend to request "Real Time" and/or daily copy transcripts of
     the trial proceedings.
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            7. Deposition Testimony: The transcripts of deposition testimony to be offered in
 8   the case in chief shall be jointly submitted to the Court thirty days before trial marked as
     follows: a) The parties shall meet and stipulate to the excerpts of the deposition testimony
 9   which may be read into the trial record and shall mark these by highlighter in green. b) As
     to contested portions of any transcripts, the Plaintiff's excerpts shall be highlighted in
10   yellow, and the Defendant's excerpts shall be highlighted in blue. c) Each party shall
     provide corresponding memorandum identifying and explaining the basis for any
11   objections. Counsel are advised to retain a copy of the marked set of transcripts filed with
     the Court.
12
             8. Interpreters: The parties are responsible for hiring and compensating federally
13   certified interpreters for Spanish, Navajo, and Haitian-Creole. Interpreters for other
     languages should be professionally qualified interpreters. For a list of certified and
14   qualified interpreters. the parties may contact Michael O’Brian, Chief Deputy Clerk, at
     michael_o’brian@azd.uscourts.gov. or bonnie_williams@azd.uscourts.gov.
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            9.     Pretrial Conference: Motions in limine, any objections to exhibits or
16   deposition testimony, and any other matters which must be resolved for purposes of trial
     shall be heard by the Court on Monday, January 6, 2020 at 9:30 a.m. in Courtroom 6B,
17   Sixth Floor, Evo A. DeConcini United States Courthouse, 405 W. Congress Street, Tucson,
     Arizona.
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            10.   The parties’ Joint Proposed Pretrial Order (Doc. 399) is approved, adopted
19   and incorporated herein by reference.
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21          Dated this 16th day of September, 2019.
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